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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

 JEANNETE BRAUN, BRAUN IP LAW, LLC,        )
 & LAUREN PROPSON,                         )
                     Plaintiffs,           )
                                               Case No. 23 C 16856
        v.                                 )
                                           )
 REBEKAH M. DAY NEE BOX, KC THE            )
 OWNER & OPERATOR OF THE ONLINE            )
 SOCIAL MEDIA ACCOUNT                      )
 @CAFFINATEDKITTI, LILY MARSTON, &         )
 JESSICA VAZQUEZ                           )
                                           )
                                           )
                                           )
                          Defendants.      )

    DEFENDANT KC THE OWNER AND OPERATOR OF THE SOCIAL MEDIA
ACCOUNT @CAFFINATEDKITTI’S MEMORANDUM OF POINTS & AUTHORITIES
IN SUPPORT OF HER SPECIAL MOTION TO STRIKE PURSUANT TO O.C.G.A. § 9-
11-11.1, OR, IN THE ALTERNATIVE, MOTION TO DISMISS PURSUANT TO FED. R.
                        CIV. PROC. 12(B)(6) & 12(B)(3)
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I.     INTRODUCTION

       At its core, this action is an attempt by an alleged well-known social media influencer with

“millions” of followers - and her lawyer - to silence an individual who has voiced opinions about

them on social media with which they disagree. While Plaintiff Lauren Propson (“Propson”) and

her lawyer Jeanette Braun/Braun IP Law (collectively, “Braun”) may not like what Defendant KC

the owner and operator of the social media account @CaffinatedKitti (hereafter, “KC”) has to say

about them on Tik Tok, the allegations of the Complaint reveal that KC’s alleged statements are

nothing more than her opinion, her subjective beliefs, and, at worst, hyperbolic name-calling –

they are not actionable as defamation as a matter of law. Not one of the alleged “defamatory

statements” is a verifiable statement of fact. Not only do these statements not constitute defamation

under the applicable substantive state law, but – importantly – they fall within the scope of

“protected activity” under the Georgia anti-SLAPP statute, which governs Georgia speakers such

as KC (who the Complaint alleges is a resident of Georgia). Put simply, this case is nothing more

than a joint and inappropriate attempt by a lawyer and her client to bully and intimidate an

individual for speaking her mind and exercising her First Amendment rights.             Indeed, the

Complaint itself reveals the lengths to which Plaintiffs will go to harass KC for voicing her

opinions, namely, calling the local police in Georgia and sending them to conduct a wholly

fabricated “wellness check” on KC.

       Because Plaintiffs’ allegations of defamation are based on statements that are a “protected

activity” under Georgia anti-SLAPP law and are legally deficient and nonactionable, the Georgia

anti-SLAPP statute mandates that all nine causes of action asserted by Plaintiffs against KC (all of

which arise out of the alleged defamatory statements) be stricken and attorneys’ fees awarded to

KC. Alternatively, KC respectfully requests that this Court dismiss all nine causes of action

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asserted against her for failure to state a claim under Fed. R. Civ. P. 12(b)(6) given that, as

explained below, all of the claims rely on alleged defamatory statements that simply are not

actionable under applicable law. Alternatively, and at a minimum, Propson’s claims against KC –

which are curiously joined with Braun’s claims – should be dismissed under Fed. R. Civ. P.

12(b)(3) for improper venue because Propson is a Wisconsin resident, KC is a Georgia resident,

and this venue has no nexus to, involvement with, or interest in the adjudication of Propson’s

claims.

II.       BACKGROUND

          A.     Case Background.

          Plaintiff Lauren Propson (“Propson”) is social media personality and Plaintiff Jeanette

Braun – through Plaintiff Braun IP Law, LLC (collectively, “Braun”) – is her lawyer. (Complaint

Dkt. 1 (“Compl.”)). Propson is a licensed mortician residing in Wisconsin (id., ¶ 4), who operates

a social media account on Tik Tok under the name “Lauren the Mortician.” (Id., ¶¶ 13, 15).

Propson alleges that she has “amassed millions of followers” on Tik Tok, as well as sponsorships

and monetization of the videos she posts of Tik Tok, including a “brand partnership with a famous

documentary channel.” (Id., ¶¶ 15-16). Propson alleges that her “lighthearted and educational

videos” posted on Tik Tok “discuss death, the loss of loved ones, and demystify occupations and

professions that work with deceased persons.” (Id., ¶ 14).

          Propson hired Braun, a lawyer, to “assist with her copyright infringement claims by filing

a Digital Millennium Copyright Act (“DMCA”) complaint to social media platforms hosting a

video” created by one of the defendants, who the Complaint names as “KC the owner and operator

of the social media account @CaffinatedKitti” (hereafter referred to as “KC”). (Id., ¶ 32). The

Complaint alleges that KC is a “social media personality,” and is a citizen and resident of Georgia.



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(Id., ¶¶ 6, 17). The Complaint alleges that Braun, who resides and is licensed to practice law in

Illinois (id., ¶¶ 2-3), filed a DMCA complaint with the social media company Meta on behalf of

Propson to remove from Facebook a post created by KC on the ground that KC’s post used

Propson’s copyrighted material. (Id., ¶ 33). The Complaint alleges that Meta approved the DMCA

removal request filed by Braun on behalf of Propson, and it removed KC’s post from Facebook on

November 4, 2023. (Id., ¶¶ 33-36). Propson has not asserted any allegations of copyright

infringement against KC in connection with her alleged use of copyrighted material in her

Facebook post. Rather, this action is based on allegations that KC posted videos on another social

media platform, Tik Tok, in which she made alleged defamatory statements about Propson and

Braun. Based on these alleged defamatory statements, Propson and Braun both assert claims for

defamation, false light, and trade libel against KC. In addition, Propson asserts claims for tortious

interference with contract and intentional infliction of emotional distress against KC, and Braun

asserts a claim for tortious interference with business relationships against KC.

       B.      Defendant KC’s Alleged Defamatory Statements Regarding Propson.

       Propson alleges that on or around October 24, 2023, KC published a video on Tik Tok and

identified her by “her public persona ‘Lauren the Mortician’” (“10/24/23 Tik Tok Post”) (Id., ¶ 19;

Link: https://www.tiktok.com/@caffinatedkitti/video/7293290351555513642). The Complaint

contends that in the 10/24/23 Tik Tok Post, KC “accused [] Propson of being ‘transphobic’ and a

‘TERF’ because she liked posts by a social media personality, who is in a gay relationship.” (Id.,

¶ 20). The Complaint alleges that “TERF” is a “derogatory slur,” “highly offensive term,” and

“acronym standing for ‘Trans-Exclusionary Radical Feminist’ which is a term used to refer to or

describe ‘an advocate of radical feminism who does not believe that transgender people’s identities

are legitimate, and who is hostile to the inclusion of trans women in the feminist movement.” (Id.,



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¶¶ 21-22). The Complaint then sets forth “screenshots” from the 10/24/23 Tik Tok Post in which

Plaintiffs allege that “Defendant KC accuses Ms. Propson of being a ‘TERF’ and ‘transphobic.’”

(Id., ¶ 23). One of the screenshots depicts a picture of KC with the text “Lauren the Mortician is

a Terf.” (Id.) The other screenshot is a depicts a picture of KC with the text “Unfriendly reminder:

we see Transphobic so we’re saying transphobic. That ain’t bullying – it’s an astute observation. –

boondocks2014” and “bi people can be transphobic.” (Id.) Neither of the screenshots depict any

text stating that Propson is “transphobic.” (Id.)

       Propson allege that “[i]n explaining her reasons for her accusations, Defendant KC stated

that she was not accusing Ms. Propson of being transphobic because Ms. Propson has a larger fan

base and following, but because people were confusing Ms. Propson’s ‘Lauren the Mortician’

persona with Defendant KC’s “@CaffinatedKitti” persona.” (Id., ¶ 24). The Complaint further

alleges that in the 10/24/23 Tik Tok Post, KC also “announced that she compiled a list of links to

posts that Ms. Propson ‘liked’ [that] contained ‘transphobic and hateful rhetoric.’” (Id., ¶ 25). The

Complaint depicts another screenshot of the 10/24/23 Tik Tok Post that depicts a picture of KC

over the background of a social media account profile for an individual named “Anthony

Ramondi” under the profile name “conservativeant”, which indicates that “Lauren the Mortician”

follows the “conservativeant” account. (Id.) The screenshot further depicts a comment from KC

stating that “I’m not one for Drama but when I’m getting confused for someone it becomes my

business. And I value being thorough when it comes to addressing any accusation against someone

else. Is it too much to ask that people hate me for who ‘I’ am? Anyway, take my information and

do your own research if you’d like – but refusing to address ‘why’ hateful content is so likeable

smells like cowardice to me. I’ll post my link in the comments for y’all, but do NOT comment on

this guy’s (derogatory) stuff, it is rage bait for a reason . . . .” (Id.) The Complaint alleges that



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“[u]pon information and belief, none of the videos Defendant KC linked contain transphobic and

hateful rhetoric” and “upon information and belief, Defendant KC’s motive and intent behind these

posts were to tarnish and damage Ms. Propson’s reputation.” (Id., ¶ 26).

       When viewed in its entirety, it is apparent that the statements made by KC in the 10/24/23

Tik Tok Post are limited to statements by KC that Propson actively follows and “likes” social

media posts that contain “transphobic” and “hateful” rhetoric (see Request for Judicial Notice

(“RJN”), Exh. 1 (transcription of 10/24/23 Tik Tok Post)), and because KC finds such rhetoric

offensive, she does not want people on social media to confuse her for Propson or her “Lauren the

Mortician” persona. Nowhere in the 10/24/23 Tik Tok Post does KC state that Propson or “Lauren

the Mortician” is transphobic or has made specific transphobic statements herself, rather, only that

she has “liked” posts by other individuals who have made transphobic statements. (Id.) Nowhere

in the Complaint do Plaintiffs allege that Propson has not “liked” these posts or followed these

individuals on social media. (See Complaint, Dkt. 1). Moreover, nowhere in the Complaint do

Plaintiffs allege any facts demonstrating that any statements made by KC in the 10/24/23 Tik Tok

Post are false. (See Complaint, Dkt. 1).

       C.      Defendant KC’s Alleged Defamatory Statements Regarding Braun.

       As stated above, Propson hired Braun to file a DMCA copyright complaint with Meta

regarding KC’s alleged use of Propson’s copyrighted material in a post on Facebook (not Tik Tok),

which Meta approved. (Compl., ¶¶ 32-36). The Complaint alleges that KC then “used her social

media accounts to express her anger and resentment” of Braun. (Id., ¶ 40). Specifically, Plaintiffs

allege that on November 21, 2023, KC “posted a video accusing Ms. Propson of using Attorney

Braun to file bad faith copyright claims with social media platforms” and in the same video, KC

accused Braun of “filing bad faith copyright strikes against Defendant KC.” (Id., ¶¶ 42-43).



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Plaintiffs allege that KC posted the same video again on Tik Tok on November 25, 2023. (Both

Tik Tok posts are collectively referred to as the “11/23 Tik Tok Posts”) 1 (Id., ¶ 45). Contrary to

the allegations in the Complaint, nowhere in the 11/23 Tik Tok Posts does KC state that Braun

filed “bad faith” or “false” copyright claims or strikes against KC. (RJN, Exh. 2 (transcription of

11/23 Tik Tok Posts)). To the contrary, KC does not even discuss the copyright strike for most of

the video; rather, KC describes how Braun called the police and sent them to KC’s home in Georgia

to conduct a “wellness check,” as well as how Braun sent KC a cease and desist letter on which

Braun copied KC’s mother and a theater company with which KC is not even affiliated. (Id.)

           Plaintiffs further allege that on November 21, 2023, KC “created a page on the donation

platform called GoFundMe,” and posted on this page a portion of a cease and desist letter that KC

received from Braun. (Id., ¶¶ 47-48). The Complaint alleges that on December 8, 2023, KC

published on the GoFundMe page her email response to Braun, and “falsely claiming [sic] that

Attorney Braun filed a ‘false copyright claim’ and that she was a fan of Lauren the Mortician and

was not actually retained to be Ms. Propson’s attorney.” (Id., ¶ 49). The Complaint sets forth a

screenshot of the GoFundMe page update from December 8, 2023, that reflects KC’s email

response to Braun regarding allegations of copyright infringement. It states, in relevant part, that

KC would “love further details on [Braun’s] client and how the video had grounds for a copyright

strike, as it clearly falls under fair use . . . I do understand how you have reached out with cease

and desist to smaller content creators speaking negatively about Lauren the Mortician’s scandals,

and while I understand your desire to protect a creator you enjoy – if you were not legally obtained

as counsel for her and I speak on this via my platform, your actions are going to cause her

significantly more strife . . . .” (Compl., ¶ 51).



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    Link to 11/23 Tik Tok Posts: https://www.tiktok.com/@caffinatedkitti/video/7304065297856613675?lang=en

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III.   ARGUMENT

       A.      Plaintiffs’ Claims Should Be Stricken Under the Georgia Anti-SLAPP
               Statute.

               1.      The Georgia Anti-SLAPP Statute Applies in this Case.

       “In the case of an anti-SLAPP statute raised as a defense to a defamation claim, the choice-

of-law question regarding the anti-SLAPP law is treated separately from whether a statement is

defamatory because the anti-SLAPP question involves whether a statement is privileged, not

whether its content is defamatory.” Osundairo v. Geragos, 447 F.Supp.3d 727, 743 (N.D. Ill. 2020)

(internal quotations omitted) (citing Underground Sols., Inc. v. Palermo, 41 F. Supp. 3d 720, 722

(N.D. Ill. 2014) (citing Chi v. Loyola Univ. Med. Ctr., 787 F.Supp.2d 797, 803 (N.D. Ill. 2011)).

Pursuant to dépeçage, the Court can apply different states’ laws to different elements of the lawsuit.

See Underground Sols., 41 F. Supp. 3d at 722. Although the place of alleged injury might be

critical in determining the law applicable to the defamation claim, the choice of law for anti-

SLAPP protection involves different interests – namely, protecting the speaker’s exercise of First

Amendment rights – and could lead to the application of different state law. See Underground

Sols., 41 F. Supp. 3d at 722; Chi, 787 F. Supp. 2d at 803. “In determining which law to apply to

defenses raised pursuant to anti-SLAPP statutes, courts have found the place where the allegedly

tortious speech took place and the domicile of the speaker central to the choice-of-law analysis.”

Intercon Solutions, Inc. v. Basel Action Network, 969 F.Supp.2d 1026, 1035 (N.D. Ill. 2013), aff'd

791 F.3d 729 (7th Cir. 2015) (applying Washington’s anti-SLAPP statute when defendants were

citizens of the State of Washington and their allegedly defamatory speech, though eventually

published in Illinois and on the Internet, originated in that state). Here, the Complaint alleges that

KC is a “citizen and resident of the State of Georgia” (Compl., ¶ 6), and there is no allegation that

the alleged defamatory speech (while eventually published on social media and the Internet)

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originated anywhere other than Georgia. Thus, Georgia has a strong interest in protecting KC’s

speech and the Georgia anti-SLAPP law applies to Plaintiffs’ claims against her. See Osundairo,

447 F.Supp.3d at 743; Underground Sols., 41 F. Supp. 3d at 725; Chi, 787 F. Supp. 2d at 803; see

also Amin v. NBCUniversal Media, LLC, 2022 WL 16964770, at *7 (S.D. Ga. Nov. 16, 2022)

(holding that the Georgia anti-SLAPP statute “does not directly conflict with a Federal Rule of

Civil Procedure and, thus, is substantive and can apply in federal court”).

                2.      KC’s Statements Constitute a “Protected Activity” Under the Georgia
                        Anti-SLAPP Statute.

        Under Georgia law, the analysis of an anti-SLAPP motion to strike involves two steps. See

Am. Civil Liberties Union, Inc. v. Zeh, 312 Ga. 647, 650 (2021) (citing Wilkes & McHugh, P.A. v.

LTC Consulting, L.P., 306 Ga. 252, 261 (2019)). First, the court must decide whether the party

filing the anti-SLAPP motion “has made a threshold showing that the challenged claim is one

‘arising from’ protected activity.” Wilkes, 306 Ga. at 262 (quoting OCGA § 9-11-11.1 (b) (1)). If

so, the court must then “decide whether the plaintiff ‘has established that there is a probability that

the [plaintiff] will prevail on the claim.” Wilkes, 306 Ga. at 262 (quoting OCGA § 9-11-11.1 (b)

(1)). A “protected activity” under O.C.G.A. § 9-11-11.1 (b) (1) is one “which could reasonably be

construed as an act in furtherance of the person's or entity's right of petition or free speech under

the Constitution of the United States or the Constitution of the State of Georgia in connection with

an issue of public interest or concern.” See Ga. Code Ann. § 9-11-11.1(b)(1). The code section

defines an “act in furtherance of the person's or entity's right of petition or free speech under the

Constitution of the United States or the Constitution of the State of Georgia in connection with an

issue of public interest or concern” to include: “[a]ny written or oral statement or writing or petition

made in connection with an issue under consideration or review by a legislative, executive, or

judicial body, or any other official proceeding authorized by law”, “[a]ny written or oral statement

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or writing or petition made in a place open to the public or a public forum in connection with an

issue of public interest or concern”, or “[a]ny other conduct in furtherance of the exercise of the

constitutional right of petition or free speech in connection with a public issue or an issue of public

concern.” See Barnwell v. Trivedi, 366 Ga.App. 168, 170–171 (2022) (citing OCGA § 9-11-11.1).

The statute “is intended to protect persons exercising their constitutional rights of petition and

freedom of speech. To accomplish this goal, the statute is to be construed broadly.” Id.

       With respect to both Plaintiffs claims against KC, there can be no question that they are

based on statements made by KC “in a public forum” “in connection with a public issue or an issue

of public concern.” See OCGA § 9-11-11.1(c)(3)(4). The Complaint alleges that the statements

were made in videos posted on social media platforms, including Tik Tok, as well as on an online

donation platform called GoFundMe. (Compl., ¶¶ 19, 42-51). The Complaint also alleges that the

videos containing the alleged defamatory statements were viewed “approximately 928,000 times”

and “over 263,000” times. (Id., ¶¶ 44-45). Social media and online platforms are considered

“public forums” for purposes of anti-SLAPP statutes. See e.g., Equity Prime Mortgage v. Greene

for Congress, Inc., 366 Ga.App. 207, 216 (Ga. Ct. App. 2022) (holding that statements made on

social media fell within scope of OCGA § 9-11-11.1).

       “To determine whether an issue is an ‘issue of public concern’ under the statute, courts

consider ‘whether the subject of the speech or activity was a person or entity in the public eye or

could affect large numbers of people beyond the direct participants; and whether the activity

occurred in the context of an ongoing controversy, dispute or discussion, or affected a community

in a manner similar to that of a governmental entity.’” Amin v. NBCUniversal Media, LLC, 2022

WL 16964770, at *6 (S.D. Ga., Nov. 16, 2022) (citing Lane Dermatology v. Smith, 861 S.E.2d

196, 204 (Ga. Ct. App. 2021). “[A]n issue of public interest’ ... is any issue in which the public is



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interested. In other words, the issue need not be ‘significant’ to be protected by the anti-SLAPP

statute—it is enough that it is one in which the public takes an interest.” See Cross v. Cooper, 197

Cal.App.4th 357, 373 (2011), as modified on denial of reh'g (Aug. 4, 2011) (citation omitted). 2

        As to Propson’s claims, the Complaint alleges that Propson maintains a famous social

media persona with “millions of followers” on Tik Tok, as well as sponsorships and a brand

partnership with a famous documentary channel (Compl., ¶¶13-16); thus, she certainly is in the

“public eye”. The Complaint also alleges that KC explained that her statements were made as the

result of confusion between KC and Propson by social media followers, and KC did not want to

be confused with a social media persona (with millions of followers) who “liked” “transphobic

and hateful rhetoric.” (Id., ¶¶ 24-25). Thus, the public issue implicated by KC’s alleged statements

is the confusion between two social media personas who are undoubtedly in the public eye, one of

which has “liked” and “followed” other social media personas whose content contains

“transphobic” and “hateful rhetoric.” Whether Propson, who has “millions” of social media

followers for her “educational videos” about “death” and the “loss of loved ones”, likes and follows

other social media personalities who post “transphobic and hateful rhetoric” is certainly a matter

of public interest, particularly when the public is confusing KC and Propson. Rosser v. Clyatt, 348

Ga.App. 40, 44 (2018) (holding that statements made regarding former president of a corporation

in connection with a controversy that would affect the more than 13,000 members of the

corporation “is of legitimate public concern”) (citing Buckley v. DIRECTV, Inc., 276 F.Supp.2d

1271, 1275 (N.D. Ga. 2003) (“Any action involving such a large number of people is, by definition,

a matter of public interest and concern”)).



2
  Georgia courts have expressly looked to California case law interpreting the California anti-SLAPP statute for
guidance in interpreting OCGA § 9-11-11.1, given that the California anti-SLAPP statute is “very similar to the text
of Georgia's revised anti-SLAPP statute.” Wilkes & McHugh, P.A. v. LTC Consulting, L.P., 306 Ga. 252, 258 (2019).

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       As for Braun’s claims against KC, they are also based on “protected activity” by KC.

Namely, Braun’s allegations are based on purported statements that KC accused Braun of filing a

“bad faith” copyright strike or complaint under the DMCA against KC, i.e., the filing of the DMCA

copyright strike/complaint was unfounded or “in bad faith” because KC’s use of Propson’s alleged

copyrighted material constituted “fair use.” (Compl., ¶¶ 43, 49, 51). As explained above, OCGA

§ 9-11-11.1 provides that “[a]ny written or oral statement or writing or petition made in connection

with an issue under consideration or review by a legislative, executive, or judicial body, or any

other official proceeding authorized by law” is deemed a “protected activity” under the Georgia

anti-SLAPP statute. See OCGA § 9-11-11.1(c)(2) (emphasis added). This statute creates “an

expansive definition of protected speech” that includes “any statement made in connection with

an issue under consideration by any official proceeding.” Johnson v. Cordtz, 366 Ga.App. 87, 91

(2022) (emphasis added). The filing of a complaint or copyright strike under the DMCA

constitutes an “official proceeding” as it is expressly “authorized by law.” Kibler v. Northern Inyo

County Local Hospital Dist., 39 Cal.4th 192, 200 (2006), as modified (July 20, 2006) (holding that

hospital peer review constitutes an “official proceeding” under anti-SLAPP law because it is

authorized by California Business & Professions Code section 805 et seq.); see also Laker v. Board

of Trustees of California State University, 32 Cal.App.5th 745, 764 (2019) (holding that

investigations by state university into employee allegations of workplace misconduct were

“official proceedings authorized by law” that receive the protections of the anti-SLAPP statute

because the university had statutory authority under the California Education Code to make rules

governing employees and to respond to complaints of workplace misconduct). Here, the DMCA

specifically authorizes and outlines the procedure for the filing of a complaint or copyright strike

with an online service provider. See 17 U.S.C. § 512(c)(3)). Thus, it constitutes an “official



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proceeding authorized by law,” and KC’s alleged statements made in connection with that “official

proceeding” (i.e., it was filed “in bad faith”) is protected under the Georgia anti-SLAPP statute.

       Furthermore, the statements are also protected as public statements of a public issue or

public concern under OCGA § 9-11-11.1(c)(3) & (4). Again, the Complaint alleges that Propson

has millions of social media followers; thus, whether she has hired an attorney to file copyright

claims and/or strikes against content creators simply because they post content that Braun’s clients,

including Propson, do not like, is a matter of public interest and concern. ACLU, 312 Ga. at 650

(holding that a blog post asserting that a public defender had charged an indigent criminal

defendant a fee for public defense services was a protected activity under anti-SLAPP statute).

Because KC’s statements are “protected activity” under OCGA § 9-11-11.1(c)(2), (3) and/or (4),

KC has satisfied the first step of the anti-SLAPP inquiry as to both Plaintiffs.

               3.      There is No Probability That Plaintiffs Can Prevail on Their Claims
                       Because They Are Legally Deficient.

       Once a defendant has established that the claims asserted against it arise out of protected

activity, as KC has done here, the burden then shifts to the plaintiff to demonstrate that there is a

probability that the plaintiff will prevail on his or her claims. See Ga. Code Ann. § 9-11-11.1(b)(1).

In federal district court, an anti-SLAPP motion “may be premised on legal deficiencies inherent in

the plaintiff's claim, analogous to a motion to dismiss under Federal Rule of Civil Procedure

12(b)(6),” and if “a defendant makes a special motion to strike based on alleged deficiencies in the

plaintiff's complaint, the motion must be treated in the same manner as a motion under Rule

12(b)(6) except that the attorney's fee provision of [the anti-SLAPP statute] applies.” Planned

Parenthood Fed’n of Am., Inc. v. Center for Medical Progress, 890 F.3d 828, 834 (9th Cir. 2018),

amended 897 F.3d 1224 (9th Cir. 2018); see also Osundairo, 447 F.Supp.3d at 744 (same). In

determining whether a complaint satisfies Rule 12(b)(6), the Court accepts the facts stated in the

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complaint as true and draws reasonable inferences in plaintiff’s favor. Parish v. City of Elkhart,

614 F.3d 677, 679 (7th Cir. 2010). Though a complaint need not contain “detailed factual

allegations, ... a formulaic recitation of the elements of a cause of action will not do.” Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 555 (2007). Rather, the complaint must contain “enough facts to

state a claim to relief that is plausible on its face.” Id. at 570. A complaint fails to state a claim

“where the well-pleaded facts do not permit the court to infer more than the mere possibility of

misconduct.” Ashcroft v. Iqbal, 129 S.Ct. 1937, 1950 (2009). Here, as explained below, Plaintiffs

have failed to state facts sufficient to constitute any cause of action against KC; thus, each of the

claims should be stricken under OCGA § 9-11-11.1(b)(1) and attorneys’ fees under that statute

should be awarded to KC. See OCGA § 9-11-11.1(b.1).

                           a.       Braun Cannot Prevail on Her Defamation Claim.

         To state a claim for defamation under Illinois law, 3 a plaintiff must plead facts showing:

“(1) the defendant made a false statement concerning the plaintiff; (2) there was an unprivileged

publication of the defamatory statement to a third party by defendant; and (3) publication of the

defamatory statement damaged the plaintiff.” Brennan v. Kadner, 351 Ill.App.3d 963, 968 (2004).

Here, the Complaint alleges that KC defamed Braun by “publicly stating that Ms. Braun filed ‘false

copyright lawsuits’ and by ‘implying that she was acting as an attorney without being hired by

Lauren the Mortician’” and she “used her platform to attack [Braun’s] character and reputation.”

(Compl., ¶ 113). The Complaint also alleges that KC stated that Braun filed “bad faith” copyright

strikes against her, and that Braun was “accused of being an unethical lawyer that files frivolous

copyright claims . . . .” (Id., ¶¶ 42-43, 117-118). As a preliminary matter, the allegation that KC



3
  Under Illinois law, the law of the state where the injury occurred governs the substantive issues of the case
(Townsend v. Sears, Roebuck & Co., 227 Ill. 2d 147, 165 (2007)), and in the case of defamation that is the state in
which the plaintiff is domiciled. See Kamelgard v. Macura, 585 F. 3d 334, 341-42 (7th Cir. 2009) (collecting cases).

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defamed Braun by “using her platform to attack [Braun’s] character and reputation,” does not state

a claim for defamation under Illinois law. Defamation per se must be pled with a “heightened

level of precision and particularity. This higher standard is premised upon an important policy

consideration, namely, that a properly pled defamation per se claim relieves the plaintiff of proving

actual damages.” Green v. Rogers, 234 Ill.2d 478, 495–496 (2009); see also Osundairo, 447

F.Supp.3d at 738–739 (holding that “plaintiffs do not identify any particular statement that forms

the basis for this allegation . . . This imprecision leaves Defendants and this Court guessing as to

which statements are at issue” and dismissing claims of defamation per se and false light based on

allegation “for lack of specificity”).           Thus, the vague allegation that KC attacked Braun’s

“character and reputation” without precise identification of the actual words used cannot state a

claim for defamation. Id.

         As for the allegations that KC defamed Braun by stating that Braun “files ‘false copyright

lawsuits’” or “bad faith” copyright strikes or claims, they are also patently defective. As a

preliminary matter, both the 11/23 Tik Tok Posts and the GoFundMe website referenced in the

Complaint make clear that KC is of the opinion that Braun had no grounds to file a copyright strike

against her. A transcript of the 11/23 Tik Tok Posts reveals that nowhere in the 11/23 Tik Tok Posts

does KC actually state that Braun filed “bad faith” or “false” copyright claims or copyright strikes

against her. (See RJN, Exh. 2). Rather, the only reference to the “copyright strikes” filed against

KC by Braun in the 11/23 Tik Tok Posts is KC’s statement that she found the copyright strike to

be “bizarre.” (Id., Exh. 2 at p. 2). 4 Likewise, the screenshot of the GoFundMe page posted by KC



4
  While the Complaint reflects an alleged screenshot from a November 21, 2023 Tik Tok post with the text “in bad
faith copyright infringement strikes” imposed over an image of KC (Complaint, ⁋ 42), that text is not reflected in the
video itself, a link to which Plaintiffs failed to include or cite to in the Complaint. (See
https://www.tiktok.com/@caffinatedkitti/video/7304065297856613675?lang=en). Moreover, nowhere in the
11/23 Tik Tok Posts or the GoFundMe page does KC state that the copyright strike filed against her was “in bad faith”
or accuse Braun of “being an unethical lawyer who files frivolous copyright claims.” (Compl., ¶¶ 42-43,117-119; RJN

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reveals a letter from KC to Braun with the subject line “False Copyright Claim” and states only

that KC and her team “would love further details on your client and how the video had grounds

for a copyright strike, as it clearly falls under fair use.” (Compl., ¶ 51). A party who has been sued

or otherwise had a legal proceeding instituted against him or her is certainly permitted to express

their disagreement with the merits of the proceeding without being liable for defaming the

opposing counsel, as such a statement is a non-actionable opinion.

        “A statement is constitutionally-protected opinion if it cannot reasonably be interpreted as

stating actual facts about the plaintiff, when viewed ‘from the perspective of an ordinary reader.’”

Doctor's Data, Inc. v. Barrett, 170 F.Supp.3d 1087, 1113–1114 (N.D. Ill. 2016) (citations omitted).

“To determine whether a statement is factual in nature, Illinois courts consider “whether the

statement has a precise and readily understood meaning; whether the statement is verifiable; and

whether the statement's literary or social context signals that it has factual content. If it is clear that

the speaker is expressing a subjective view or interpretation, such as when the speaker discloses

the facts forming the basis for the statement, the statement is not actionable as defamation.” Id.

(citations omitted). Here, it is clear that KC is expressing her subjective opinion that the copyright

claim had no grounds, based on her opinion that the defense of fair use is applicable. Furthermore,

use of a term “false” or even “bad faith” (assuming KC even used that phrase), has no “precise and

readily understood meaning.” See Solaia Tech., LLC v. Specialty Pub. Co., 221 Ill.2d 558, 582–

583 (2006) (“The phrase “deeply greedy people” has no precise meaning, and it is not verifiable.

Further, the context in which that phrase appeared indicates that it may have been judgmental, but

it was not factual. This statement is not actionable”). The terms “false” or “bad faith” are so broad

in scope that they “lack the necessary detail” to have a “precise and readily understood meaning”


Exh. 2). Thus, Braun has failed to allege with adequate particularity the statements that form the basis for the
defamation and false light claims against KC based on these specific allegations. Osundairo, 447 F.Supp.3d at 742.

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required to be actionable. See Hopewell v. Vitullo, 299 Ill.App.3d 513, 519-20 (1998) (holding

that the term “incompetent” is a nonactionable opinion because there are “numerous reasons why

one might conclude that another is incompetent; one person’s idea of when one reaches the

threshold of incompetence will vary from the next person’s”); see also Tamburo v. Dworkin, 974

F.Supp.2d 1199, 1213 (N.D. Ill. 2013) (holding that statements that plaintiff’s actions were

“unethical” and “deceitful” are “plainly subjective”,       not “objectively verifiable” and “not

actionable”). What does it mean for a claim to be “false” or in “bad faith,” and how would one

verify that? Courts can and do routinely disagree over whether particular claims have merit. To

hold KC liable for expressing her opinion regarding the merits of the copyright strike filed against

her by Braun would open any litigant up to liability for defamation if they spoke publicly regarding

the merits of the proceedings filed against them. That is not and cannot be the law.

       Finally, Braun’s allegation that KC defamed her by “implying that she was acting as an

attorney without being hired by Lauren the Mortician” is also a nonactionable opinion. Both the

transcript of the 11/23 Tik Tok Posts and the GoFundMe page make clear that KC thought that

Propson may not have hired Braun as her attorney. (See RJN, Exh. 2 at p. 2 (“So when this first

started to the attorney, I didn't think that it was actually someone Lauren hired”; “So like I said, I

thought Jeanette had just gone rogue and not been actually hired . . . .”; see also Compl., ¶ 51 (“. .

. while I understand your desire to protect a creator you enjoy – if you were not legally obtained

as counsel for her and I speak on this via my platform, your actions are going to cause her

significantly more strife.”) “If it is clear that the writer is exploring a ‘subjective view, an

interpretation, a theory, conjecture or surmise, rather than claiming to be in possession of

objectively verifiable facts, the statement is not actionable.’” Moriarty v. Greene, 315 Ill.App.3d

225, 234–235 (2000) (citing Haynes v. Alfred A. Knopf, Inc., 8 F.3d 1222, 1227 (7th Cir.1993));



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see also Brennan v. Kadner, 351 Ill.App.3d 963, 969 (2004) (finding nonactionable opinion when

“statement was not couched in terms of a factual assertion” but rather “as conjecture”). Moreover,

“social contexts are a major determinant of whether an ordinary reader would view an alleged

defamatory statement as constituting fact or opinion.” Brennan v. Kadner, 351 Ill.App.3d 963, 970

(Ill. App. Ct. 2004). The fact that these statements were made on the Internet and social media

posts further underscore that they constitute an opinion. 5

        Not only are KC’s statements about Braun nonactionable opinions, but they are also subject

to a qualified privilege under Illinois law. “Such a privilege may exist ‘where the situation involves

an interest of the person who publishes the defamatory statement or an interest of the person to

whom the matter is published.’” Tamburo, 974 F.Supp.2d at 1214 (citation omitted). “Courts also

recognize as privileged communications involving a recognized public interest.” Id. Whether a

qualified privilege exists is a question of law for the court. Id. KC’s statements are privileged

because they relate to her interest in protecting her freedom of speech in her social media posts

and in not being subject to DMCA copyright strikes filed by Braun in response to statements made

on social media with which Braun’s clients disagree. Moreover, the statements made by KC were

published to those who share that interest, i.e., other individuals who have social media accounts

who have been or could be subject to DMCA copyright strikes filed by Braun. Id.; Haywood v.

Lucent Tech., Inc., 169 F.Supp.2d 890, 917 (N.D. Ill. 2001), aff'd 323 F.3d 524 (7th Cir. 2003);

Ludlow v. Northwestern Univ., 79 F.Supp.3d 824, 845 (N.D. Ill. 2015).                          “[O]nce qualified

immunity has been identified, a plaintiff may overcome this challenge at the pleading stage by


5
  Courts have “emphasized the generally informal and unedited nature” of statements made on the Internet. See Ganske
v. Mensch, 480 F.Supp.3d 542, 553 (S.D.N.Y. 2020) (citing Sandals Resorts Int'l Ltd. v. Google, Inc., 86 A.D. 3d 32,
44 (1st Dep't 2011) (“The culture of Internet communications, as distinct from that of print media such as newspapers
and magazines, has been characterized as encouraging a ‘freewheeling, anything-goes writing style.’”). Social media
platforms are “equally — if not more — informal and ‘freewheeling’ and as such convey “a strong signal to a
reasonable reader” that a statement is opinion. Id. (referring to statements on Twitter).


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alleging the statement was made with actual malice — either knowledge of its falsity or in reckless

disregard of the truth.” Id. at 845. “Courts in this district, however, have looked for something

more than conclusory statements in order to infer the defendant knew the statements were untrue

or recklessly disregarded the truth or falsity of those statements.” Id. (emphasis added). Here, the

Complaint contains nothing more than conclusory statement that KC’s “defamatory statements

were made with knowledge of their falsity and with a reckless disregard for the truth . . . .” (Compl.,

¶ 123). There are no facts alleged to support this boilerplate allegation, and without such facts,

Braun cannot overcome application of the qualified privilege. Because Braun’s claims for

defamation against KC are legally deficient, Braun cannot satisfy her burden under the Georgia

anti-SLAPP statute of demonstrating a probability of prevailing on the claim.

                  b.        Propson Cannot Prevail on her Defamation Claim.

         The Complaint alleges that KC “defamed” Propson by “publicly stating” in the 10/24/23

Tik Tok Post that Propson was a “TERF” and “transphobic” and “used her platform to attack

[Propson’s] character and reputation.” (Compl., ¶¶ 19-20, 23-25, 101). The Complaint alleges that

the “false statements” were defamation per se because the “harm to Plaintiff’s reputation is obvious

and apparent on its face. Being called a transphobic is akin to being called a bigot or a racist . . . .”

(Id., ¶ 105). Because the Complaint alleges that Propson is a “citizen and resident of Wisconsin”

(id., ¶ 4), Wisconsin law governs the substantive issues of Propson’s claims. See Townsend, 227

Ill. 2d at 165; Kamelgard, 585 F.3d at 341-42. 6

         As explained above in connection with Braun’s defamation claim, allegations that KC

defamed Propson by “using her platform to attack [Propson’s] character and reputation” fail,

because Propson has failed to identify any particular statement that forms the basis for this


6
 In the event that the Court finds that Illinois law governs a determination of the legal sufficiency of Propson’s claims,
KC has cited applicable Illinois law in connection with the analysis of Braun’s claims. See Section I.C.1, supra.

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allegation. This “imprecision” leaves KC and the Court guessing as to which statements are at

issue and, accordingly, fail to plead facts to support the claim with adequate specificity. Wesbrook

v. Ulrich, 90 F.Supp.3d 803, 808 (W.D. Wis. 2015) (dismissing defamation claim because “the

allegations are too vague and conclusory as to the actual content of the alleged defamatory

statements” to satisfy Fed. R. Civ. P. 8); Patterson v. World Wrestling Ent., Inc., 2005 WL 8162784,

at *8 (E.D. Wis. Feb. 8, 2005) (“complaint alleging defamation must set forth ‘the particular words

complained of’”).

       As for the allegation that KC stated Propson was a “TERF” (which the Complaint alleges

stands for “Trans-Exclusionary Radical Feminist” defined as “someone who is hostile to the

inclusion of trans women in the feminist movement”), that statement is pure opinion and

nonactionable under both Wisconsin and Illinois law. See Wagner v. Allen Media Broad., 2024

WL 63689, at *11 (Wis. Ct. App. Jan. 5, 2024) (“Generally speaking, defamation claims must be

based on statements of fact rather than expressions of opinion”); Wesbrook, 90 F.Supp.3d at 810–

811 (“statements of opinion are not defamatory”). “A defamatory statement must: (1) assert or

imply a fact that is capable of being proven false; or (2) it must assert an opinion that directly

implies the assertion of an undisclosed defamatory fact.” Id. It is not possible to prove that

Propson is not someone who is hostile to the inclusion of trans women in the feminist movement.

Whether Propson is or is not “hostile” to trans women is entirely subjective and could vary from

person to person. Id. (“statements of opinion are not actionable if they merely express ‘a subjective

view . . . .”); see also Kaminske v. Wisconsin Cent. Ltd., 102 F.Supp.2d 1066, 1080–1081 (E.D.

Wis. 2000) (holding that “subjective impression” is not “sufficiently factual to be susceptible of

being proved true or false”); Colborn v. Netflix Inc., 661 F.Supp.3d 838, 849 (E.D. Wis. 2023)

(same). Further, as the Seventh Circuit has held “[w]ords that are mere name calling or found to



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be rhetorical hyperbole or employed only in a loose, figurative sense have been deemed

nonactionable.” Huon v. Denton, 841 F.3d 733, 744 (7th Cir. 2016) (applying Illinois law) (citing

Milkovich, 497 U.S. at 20 (statements that are not reasonably understood as stating actual facts

should not be actionable, in order to ensure that “public debate will not suffer for lack of

‘imaginative expression’ or the ‘rhetorical hyperbole’ which has traditionally added much to the

discourse of our Nation”).

        As for the Complaint’s allegation that KC defamed Propson by stating she was

“transphobic,” a transcript of the 10/24/23 Tik Tok Post reveals that KC never called Propson

“transphobic.” (RJN, Exh. 1). Not once in the 10/24/23 Tik Tok Post does KC use the word

“transphobic,” nor does she ever accuse Propson of disliking or being prejudiced against

transgender individuals. (Id.) Rather, the transcript from the 10/24/23 Tik Tok Post demonstrates

that KC stated only that Propson was “following” and “actively liking” social media posts by

individuals who posted “incredibly transphobic and hateful rhetoric.” (Id., p. 1). Nowhere in the

Complaint does Propson allege that this statement is false (i.e., that she did not “follow” and

“actively like” social media posts by these particular individuals), and the 10/24/23 Tik Tok Post

reveals that Propson did actually like and follow these individuals. 7 Given that the statement that

Propson follows and “likes” these social media posts is not false, it cannot form the basis for a

defamation claim. Laughland v. Beckett, 365 Wis.2d 148, 870 N.W.2d 466, 473 (2015)

(“‘Substantial truth’ is a defense to a defamation action.”); see also Harrison v. Chicago Sun-

Times, Inc., 341 Ill. App. 3d 555, 563 (2003).

        As explained above, because Propson does not identify any particular statement that forms

the basis for her “transphobic” allegation, the defamation claim based on this allegation must be


7
 Osundairo, 447 F.Supp.3d at 738 (court may consider transcript of 10/24/23 Tik Tok Post in determining legal
sufficiency of defamation claim).

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dismissed for “lack of specificity.” Wesbrook, 90 F.Supp.3d at 808 (dismissing defamation claim

because “the allegations are too vague and conclusory as to the actual content of the alleged

defamatory statements”); see also Osundairo, 447 F.Supp.3d at 738–739 (applying Illinois law).

Even if Propson had pled any facts supporting the allegation that KC had accused Propson of being

“transphobic,” which she did not, such a statement is not capable of being proven false and,

therefore, is not actionable. See e.g., Law Offices of David Freydin, P.C. v. Chamara, 24 F.4th

1122, 1131 (7th Cir. 2022) (generally calling someone a “chauvinist” or “racist” is a nonactionable

statement of opinion); La Liberte v. Reid, 966 F.3d 79, 93 (2d Cir. 2020) (“[A]ccusation[s] of

concrete, wrongful conduct are actionable while general statements charging a person with being

racist, unfair, or unjust are not”); Terry v. Journal Broadcast Corp., 351 Wis.2d 479, 511–512 (Wis.

Ct. App. 2013) (use of terms “rob” and “cheat” were nonactionable opinions under Wisconsin

law); Huon, 841 F.3d at 744 (mere name calling is not actionable as defamation under Illinois law).

       Moreover, Propson’s defamation per se claim against KC should be dismissed because

accusing someone of being a “TERF” or “transphobic” is not one of the specific categories of

statements that fall within the definition of defamation per se under either Wisconsin or Illinois

law. See Kennedy v. Children's Service Soc. of Wisconsin, 17 F.3d 980, 984 (7th Cir. 1994) (holding

that statements must fall with four specific categories to be considered slander per se under

Wisconsin law: imputation of certain crimes; allegations affecting one's business, trade, profession

or office; imputation of a loathsome disease; or imputation of unchastity to a woman); see also

Green, 234 Ill.2d at 491-492 (setting forth categories of defamation per se under Illinois law).

Thus, Propson must plead specific allegations of “special damages resulting from the defamation,”

which the Complaint fails to do. See Kennedy v. Children's Service Soc. of Wisconsin 17 F.3d 980,

985 (7th Cir. 1994) (dismissing claim for defamation for failure to state a claim when special



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damages were not plead). General allegations of harm to Propson’s career, profession and

reputation, or allegations of emotional distress, are insufficient to adequately plead special

damages. See Rivera v. Allstate Insurance Company, 189 N.E.3d 982, 999 (Ill. App. Ct. 2021)

(applying Illinois law). Likewise, a conclusory allegation that Propson lost a “contract with a

famous documentary channel,” without any supporting facts explaining that she lost the contract

because of the alleged defamation, is insufficient to plead special damages. Quinn v. Jewel Food

Stores, Inc., 276 Ill.App.3d 861, 869–870 (1995) (applying Illinois law and holding that plaintiff

failed to plead special damages to state a claim for defamation because Plaintiff provided no

explanation that denial of a franchise was because of defendant’s statements).

                c.      Plaintiffs Cannot Prevail on Their False Light and Trade Libel Claims.

         Because Plaintiffs have failed to state a claim for defamation against KC, their respective

false light claims against KC (Counts V and VI) arising out of the same allegations fail as well.

See Madison v. Frazier, 539 F.3d 646, 659 (7th Cir. 2008) (When an “unsuccessful defamation per

se claim is the basis of [a plaintiff's] false-light claim, his false-light invasion of privacy claim fails

as well.”); Terry v. Journal Broadcast Corp., 351 Wis.2d 479, 509 (Wis. Ct. App. 2013) (Wisconsin

does not recognize a claim for “false light”). Likewise, because Plaintiffs’ trade libel claims

against KC (Counts IX and X) are nothing more than a restatement of the defamation claims and

based on the same alleged false statements by KC (Compl., ¶¶ 169, 173), the trade libel claims

suffer from the same deficiencies as the defamation claims discussed in Sections A.3(a) and (b)

above.

                d.      Plaintiffs Cannot Prevail on Their Tortious Interference Claims.

         Propson’s claim for tortious interference against KC (Count XIII) asserts that KC’s alleged

defamatory statements intentionally interfered with a contract Propson had with a “famous and



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well-known documentary channel.” (Compl., ¶¶ 188-194). Braun has likewise asserted a claim

for tortious interference with existing and potential business relationships against KC (Count XIV)

based on allegations that KC’s purported defamatory statements “have caused and are likely to

cause the public and content creators not to employ [Braun] for legal representation.” (Id., ¶ 196).

Both claims are legally deficient. As a preliminary matter, both claims for “tortious interference”

are based on Plaintiffs’ nonactionable allegations of defamation. See Sections A.3.(a) & (b),

supra; see also Liebe v. City Finance Co., 98 Wis. 2d 10, 13 (Ct. App. 1980) (failed claim for

defamation “cannot subject one to liability for tortious interference with a contract”).

       Furthermore, under Wisconsin law (which applies to Propson’s claim), a claim for tortious

interference with a contractual relationship requires the plaintiff to allege that the defendant

“act[ed] with a purpose to interfere with the ... contract.” Foseid v. State Bank of Cross Plains,

541 N.W.2d 203, 209 (Wis. Ct. App. 1995). “If an actor lacks ‘the purpose to interfere’ then his or

her ‘conduct does not subject [him or her] to liability even if it has the unintended effect of

deterring [a third party] from dealing with the [plaintiff].” Id. Necessarily, “[t]o be subject to

liability [for tortious interference with a contract], the actor must have knowledge of the contract

with which he is interfering and the fact that he is interfering with the performance of the contract.”

Restatement (Second) of Torts, § 766, cmt. i. The Complaint alleges no facts establishing that KC

knew about Propson’s alleged contract with the “documentary channel” and that she “acted with

the purpose of interfering with that contract.” Rather, the Complaint relies on nothing more than

conclusory and insufficient allegations devoid of any facts. Roumann Consulting Inc. v. Symbiont

Construction, Inc., 2019 WL 3501527, at *9 (E.D. Wis., Aug. 1, 2019) (“vague and conclusory

allegation is insufficient to state a plausible claim for tortious interference”). Indeed, the Complaint

makes clear that KC’s motivation in making the statements about Propson on Tik Tok was to clear



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up confusion between Propson and KC (see Compl., ¶ 24) – not to interfere with a contract between

Propson and the documentary channel.            Moreover, the Complaint is devoid of any factual

allegations establishing that KC’s statements were the cause of the documentary channel’s

termination of its contract with Propson. Duct-O-Wire Co. v. U.S. Crane, Inc., 31 F.3d 506, 509

(7th Cir. 1994) (essential element of tortious interference claim is that “a causal connection exists

between the interference and the damages”); Twombly, 550 U.S. at 570 (complaint must allege

“enough facts to state a claim to relief that is plausible on its face . . .”).

        Braun’s tortious interference claim is equally deficient. Under Illinois law (which applies

to Braun’s claim), a claim for tortious interference with prospective economic advantage requires

that plaintiffs show (1) their reasonable expectation of entering into a valid business relationship;

(2) defendants' knowledge of that expectancy; (3) purposeful interference by the defendants

preventing that expectancy from being fulfilled; and (4) damages resulting from such interference.

See Hackman v. Dickerson Realtors, Inc., 557 F.Supp.2d 938, 948 (N.D. Ill. 2008). Braun fails to

allege any specific facts regarding the existing or prospective relationships with which KC

allegedly interfered; rather, the Complaint alleges only conclusory allegations that KC has caused

“the public and content creators not to employ” Braun. (Compl., ¶ 196). Per the Complaint, the

interference claim could be based on any member of “the public” — there are no specific

relationships identified and no facts alleging that KC knew of these potential or existing

relationships. Such conclusory allegations are “too vague to state a viable claim” for tortious

interference under Illinois law. Hackman, 557 F.Supp.2d at 949 (dismissing tortious interference

claim that alleged defendant’s conduct “caused unidentified agents to quit Hackman's employ”).

Moreover, Braun has alleged no facts to support any allegation that members of the public have

failed to employ Braun for legal representation as a result of KC’s statements. Instead, the



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Complaint relies on a conclusory assertion that KC’s statements “have caused” or are “likely to

continue to cause” people not to hire Braun. That simply is not enough to state a claim for tortious

interference. Id. (dismissing claim for tortious interference based on “generic” allegations that “fall

short of establishing the causation required for a claim for tortious interference with an existing

business relationship” and are “too attenuated” and “too speculative and vague to state a ‘plausible

entitlement to relief”) (citing Twombly, 550 U.S. at 559).

               e.      Propson Cannot Prevail on Her Intentional Infliction of Emotional
                       Distress Claim.

       Propson’s claim for intentional infliction of emotional distress against KC is based entirely

on KC’s alleged defamatory statements (Count XV). (Compl., ¶¶ 200-202). Because Propson has

failed to state a claim for defamation, she has also failed to state a claim for emotional distress.

Terry v. Journal Broadcast Corp., 351 Wis.2d 479, 515 (Wis. Ct. App. 2013) (affirming dismissal

of emotional distress claim that was “derivative” of failed defamation claims); see also Huon v.

Breaking Media, LLC, 75 F.Supp.3d 747, 773 (N.D.Ill. 2014), aff’d in part, rev’d in part sub nom

Huon v. Denton, 841 F.3d 733 (7th Cir. 2016) (dismissing emotional distress claims based on failed

defamation claim “since statements that do not rise to the level of defamation logically cannot rise

to the even higher level of ‘extreme and outrageous conduct’”).

                                      *       *        *      *

       Because there is “no probability that [Braun and Propson] will prevail on the claim[s]” they

have asserted against KC, the second prong of the Georgia anti-SLAPP statute has been satisfied,

the claims asserted against KC should be stricken, and KC entitled to an award of her attorneys’

fees. See OCGA § 9-11-11.1 (b.1).

       B.      Alternatively, Plaintiffs’ Claims Should Dismissed Under Fed. R. Civ. P.
               12(b)(6).



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        As explained above in Sections A.3(a) through (e) supra, Plaintiffs are not likely to prevail

on any of their nine causes of action asserted against KC because they are legally deficient, i.e.,

they fail to state a claim under Fed. R. Civ. P. 12(b)(6). In the event that the Court determines that

KC’s conduct is not a protected activity and does not satisfy the first prong of the Georgia anti-

SLAPP statute (OCGA § 9-11-11.1(b)(1)), KC respectfully requests that the Court alternatively

dismiss the claims under Fed. R. Civ. P. 12(b)(6).

        C.      Alternatively, Propson’s Claims Should Dismissed Under Fed. R. Civ. P.
                12(b)(3) as Her Claims Have Zero Nexus to Illinois.

        A civil action is properly venued in (1) a judicial district in which any defendant resides, if

all defendants reside in the State housing the district; (2) a judicial district in which a substantial

part of the events or omissions giving rise to the claim occurred; or (3) if there is no such district

in which the action may otherwise be brought, any judicial district in which any defendant is

subject to the court's personal jurisdiction with respect to the action. See 28 U.S.C. § 1391(b); see

also Clark v. McDonald's Corporation, 2023 WL 2648467, at *2 (S.D. Ill., Mar. 27, 2023). As

explained above, two different plaintiffs have brought nine causes of action against KC (five by

Propson and four by Braun), and “venue must be proper as to each cause of action”. Scotch Whisky

Ass'n v. Majestic Distilling Co., Inc., 681 F.Supp. 1297, 1301 (N.D. Ill. 1988).

        Federal Rule of Civil Procedure 12(b)(3) allows a defendant to make a pre-answer motion

to dismiss on the grounds of improper venue. Similarly, 28 U.S.C. § 1406(a) allows a court to

dismiss a case when venue is improper. See 28 U.S.C. § 1406(a) (providing that “[t]he district

court of a district in which is filed a case laying venue in the wrong division or district shall dismiss

. . . .”). In fact, “district courts often dismiss a case, rather than transfer it under Section 1406(a),

if the plaintiff's attorney reasonably could have foreseen that the forum in which the suit was filed

was improper and that similar conduct should be discouraged.” See 14D Fed. Prac. & Proc. Juris.

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3d § 3827. Here, venue is improper with respect to Propson’s claims against KC because Propson

is a resident of Wisconsin, KC is a resident of Georgia, and none of the claims asserted by Propson

against KC have any connection to the State of Illinois (i.e., no statements made in Illinois or

directed at Illinois, no injury in Illinois). Indeed, as explained above, Illinois law does not apply to

any of the claims asserted by Propson against KC. (See Sections A.3(b) and (e), supra). Propson

should have filed this action in Wisconsin or Georgia, but she instead chose to tie her claims to

those asserted by Braun for her own convenience. That is not a reason for this Court to decide this

issue, and dismissal of Propson’s claims is warranted under Rule 12(b)(3).

III.    CONCLUSION.

        For the foregoing reasons, KC respectfully requests that this Court: (1) strike Counts I, II,

V, VI, IX, X, XIII, XIV, and XV asserted by Propson and/or Braun against KC under O.C.G.A. §

9-11-11.1 (b) (1) and award KC the attorneys’ fees she has incurred in connection with this motion

under O.C.G.A. § 9-11-11.1 (b.1); or, alternatively, (2) dismiss Counts I, II, III, IV, V, VI, IX, X,

XIII, XIV, XV asserted by Propson and/or Braun against KC for failure to state a claim under Rule

12(b)(6); or, alternatively, (3) dismiss Counts I, V, IX, XIII and XV asserted by Propson against

KC for improper venue under Rule 12(b)(3).

Dated: February 29, 2024                          Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that the foregoing document was filed and served

on all counsel of record noted below via the CM/ECF system of the United States District Court

of the Northern District of Illinois.


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Dated: February 29, 2024                             /s/ Brandon J. Witkow___________
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